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 6
                                UNITED STATES DISTRICT COURT
 7                             SOUTHERN DISTRICT OF CALIFORNIA
                                     ( Hon. William Q. Hayes)
 8
 9
         UNITED STATES OF AMERICA,                       ) Case No. 07 CR 1408-14-WQH
10                                                       )
                 Plaintiff,                              ) ORDER FOR PAYMENT OF
11                                                       ) PARALEGAL EXPENSES
                 vs.                                     )
12                                                       )
         RUBEN HERNANDEZ-ROMERO (14),                    )
13                                                       )
                 Defendant.                              )
                                                         )
14
15
16           GOOD CAUSE APPEARING, in the Ex Parte Application for Payment of Extraordinary
17    Expenses, IT IS HEREBY ORDERED pursuant to Title 18, United States Code, Sections
18    3006(e)(1)that extraordinary expenses not to exceed $2,000.00 at this time are authorized for the
19    paralegal services of TIMOTHY BRACHMANIS. All future billing for paralegal services on
20    behalf of Mr.HERNANDEZ-ROMERO shall be made directly to the Court by paralegal
21    Timothy Brachmanis on a CJA form approved by the Court.

22    SO ORDERED.

23    DATED:     September 27, 2007

24
25                                                               WILLIAM Q. HAYES

26                                                      United States District Judge

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